864 F.2d 148
    Unpublished DispositionNOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Lt. Colonel Lorentz A. FELTES, USAFR, Plaintiff-Appellant,v.The UNITED STATES, Defendant-Appellee.
    No. 88-1549.
    United States Court of Appeals, Federal Circuit.
    Nov. 7, 1988.
    
      Before RICH, NIES and BISSELL, Circuit Judges.
      PER CURIAM.
    
    
      1
      The order of the United States Claims Court in Docket No. 290-88C is affirmed on the basis of the court's June 16, 1988, opinion.
    
    